O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence R eduction



                                           U NITED STATES D ISTRICT C OURT
                                                                          for the

                                                            Western District of North Carolina

                       United States of America                             )
                                  v.                                        )
                                                                            )   Case No:    3:96CR105-03
                               Vonzell Clinton
                                                                            )   USM No: 12615-058
Date of Previous Judgment: 05/15/1997                                       )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                           )   Defendant’s Attorney

                      Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 168           months is reduced to Tim e Served Plus 10 D ays                             .

I. CO UR T DETERM INA TION OF GU IDELINE R AN GE (Prior to Any D epartures)
Previous O ffense Level:                   35                                   Amended Offense Level:          33
Criminal History Category:                 I                                    Criminal History Category:      I
Previous Guideline Range:                  168        to 210      months        Amended Guideline Range:        135       to 168   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
It is further ordered that as a condition of supervised release the defendant shall submit to the local Residential Reentry Center for a
period not to exceed 90 days, with work release, at the direction of the U.S. Probation Officer.




Except as provided above, all provisions of the judgment dated                      05/15/1997         shall remain in effect.
IT IS SO ORDERED .

Order Date:            May 13, 2008


Effective Date:
                           (if different from order date)




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